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                   UNITED STATES DISTRICT COURT FOR THE
                         DISTRICT OF NEW HAMPSHIRE


United States of America

             v.                              Criminal No. 09-cr-178-02-JD

Peter Kavalchuk


                                    O R D E R


        The assented to motion to reschedule jury trial (document no.

112) filed by defendant is granted. As the co-defendants agreed to

the continuance, trial is continued as to all defendants to the

two-week period beginning October 18, 2011, 9:30 AM.

        Defendant Peter Kavalchuk shall file a waiver of speedy trial

rights within 10 days.          The court finds that the ends of justice

served by granting a continuance outweigh the best interest of the

public     and    the   defendant   in   a     speedy   trial,     18   U.S.C.   §

3161(h)(7)(B)(iv), for the reasons set forth in the motion.

        SO ORDERED.

                                             /s/ Joseph A. DiClerico, Jr.
                                             Joseph A. DiClerico, Jr.
                                             United States District Judge

Date:     September 13, 2011

cc:   Steven Gordon, Esq.
      William Christie, Esq.
      Richard Monteith, Esq.
      Arnold Huftalen, Esq.
      Robert Rabuck, Esq.
      Seth Aframe, Esq.
      U.S. Marshal
      U.S. Probation
